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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND



UNITED STATES OF AMERICA             )
                                     )
                  v.                 )            Case No. 19-CR-449
                                     )
KENNETH W. RAVENELL, et al.,         )
                                     )
                  Defendants.        )

               NOTICE OF WITHDRAWAL OF APPEARANCE

      TO THE CLERK:

      Kindly withdraw the appearance of Christopher B. Mead as counsel on behalf

of Defendant Treem in the above-captioned matter. The appearance was entered in

error, no Notice of Appearance was filed for Mr. Mead, and Mr. Mead’s name should

be removed from the public docket. Mr. Mead has never been counsel to Defendant

Treem.



July 1, 2021                               /s/Christopher B. Mead
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